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A 0 215B (Rev 12/03) Sheet 1 - Judgment in a Critliiml Case


                             UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMEFUCA                                      JUDGMENT IN A CRIMINAL CASE

                                                              CASE NUMBER:         8:05-cr-40-T-23MAP
                                                              USM NUMBER:          42679-018
VS.



VALENCIO VENNER WILLIAMS
                                                              Defendant's Attorney: Jerry Throphilopoulos, cja

THE DEFENDANT:

X pleaded guilty to counts ONE and TWO of the Indictment.

TITLE & SECTION                     NATURE OF OFFENSE                                     OFFENSE ENDED             COUNT

46 Appendix U.S.C. §$ 1903(a) Aided and Abetted in the Possession With                    January 26, 2005          ONE
and (g), 18 U.S.C. 8 2, and         Intent to Distribute 5 Kilograms or more of
21 U.S.C. § 960(b)(l)(B)(ii)        Cocaine While Aboard a Vessel Subject lo
                                    the Jurisdiction of the United States

46 Appendix U.S.C. $8 1903(a), Conspiracy lo Possess with Intent to Distribute            January 26, 2005          TWO
1903(g), and 1903Q); and       Five Kilograms or PvIore of Cocaine While
21 U.S.C. 4 960(b)(l)(B)(ii)   Aboard a Vcssel Subject 10 the Jurisdiction
                               of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuan~t to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
- Count(s) (is)(are) dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name. residence, or mailing address until all fines, restitution, costs, and special assessments imposed by rhis judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: August 19, 2005




                                                                                      STEVEN D. MERRYDAY
                                                                                  UNITED STATES DISTRICT JUDGE

                                                                                  DATE: August 3 - x p 2 0 o 5
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A0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         VALENCIO VENNER WILLIAMS                                                                Judgment - Page 2of 6
Cast: No.:         8:05-cr-40-T-23MAP



                The defendant is hereby conmitted to the custody of the Unitcd States Bureau of Prisons to be
imprisoned for a total term of OM? IIUNDRED THIRTY-FIVE (135) MONTHS as to cou~ltsone arid two, both terms to
run concurrently.




J - The court makes the following recommendations to the Bureau of Prisons: confinement at the nearest facility to Tampa,
Florida offering the Unicor program.



   The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this disirict.

          - at - a.m.1p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                   RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

at                                                                      , with a certified copy of this judgment.



                                                                                        United States Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release
Defendant:           VALENCIO VENNER WILLIAMS                                                                          Judgment - Page 3 of A
Casc No.:            8:05-cr-40-T-23MAP

                                                         SUPERVISED RELEASE

        Upon release from imprisonnlent, the defendant shall be on supervised release for a term of SIXTY (60) MONTHS a s to
counts one and two, both terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, rhe defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

X
-        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X        The defendant shall cooperate in the collccrion of DNA as directed by the probation officer.

          If this judgment imposes a tine or a restitution it is a condition of supervised release that the dcfendant pay in accordance
 with the Schedule of Payments sheet of this judgment.

          The dekndant shall comply wilh the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
            the dcfcndant shall not leave thc judicial district without the permission of the court or probation officcr;
            the dcfcndant shall report to thc probation officcr and shall submit a truthful and complete written rcport within the first five days
            of each month;
            the dcfcndant shall answer truthfully all inquiries by thc probation officer and follow the instructions of the probation officer:

            the defcndant shall support his or her depcndents and mcct other family responsibilities:
            the dcfcndant shall work regularly at a lawful occupation, unless cxcused by the probation officcr for schooling, training. or othcr
            acceptable reasons;
            the dcfcndant shall notify the probation officer at least ten days prior to any cllangc in rcsidcnce or cniployment:

            thc dcfendant shall refrain from excessive usc of alcohol and shall not purchasc, possess, usc, distribute, or administer any
            controlled substancc or any paraphernalia rclatcd to any controlled substances, cxccpt as prescribed by a physician;
            the dcfcndant shall nor frequcnt places whcrc controlled substanccs are illegally sold, used, distributed, or administcred;
            the dcfcndant shall not associatc with any pcrsons engaged in criminal activity and shall not associatc with any person convicted
            of a fclony, unless granted permission to do so by thc probation officer;
             the defcndant shall pcm~ita probation officcr to visit him or her at any time at home or clscwhere and shall permit confiscation of
             any contraband obscnfed in plain vicw of thc probation officer;
             the dcfcndant shall notify the probation officer within seventy-two hours of being arrestcd or questioncd by a law enforcement
             officer;
             thc defcndant shall not enter into any agrecnicnt to act as an informcr or a spccial agent of a law enforcement agcncy without thc
             permission of the court;
            as directcd by the probation officer, thc dcfcndant shall notify third partics of risks that may bc occasioned by the defendant's criminal
            record or personal history or characteristics and shall pcrmit the probation officer to makc such notifications and to confirm the
            defendant's compliance with such notification rcquirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release
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Defendant:        VALENCIO VENNER WILLIAMS                                                            Judgment - Page 4 of 6
Case No.:         8:05-cr-40-T-23MAP
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with thc following additional conditions of supervised release:


X        If the defendant is deported, he shall not re-cnter the United States without the express permission of the appropriate
         governmental authority.
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 A 0 245B (Rev 12/03) Sheet 5   - Criminal Monerary Penalries
 Defendant:         VALENCIO VENNER WILLIAMS                                                         Judgment - Page 5 of 6
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                                            CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                           -
                                                                 Fine                       Total Restitution

          Totals:           $200.00                              $ waived                   $


 -        The determination of restitution is deferred until -.          An Anrended Jrrdgignlent in a Crimirzal Case ( A 0 245C) will
          be entered after such determination.
 -        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa rnent column below. However, pursuant to 18 U.S.C. 5
          3664(i). all non-federal victims must be paid before the &ted States.
                                                                                                              Priority Order or
                                                  *Total                    Amount of                         Percentage of
 Name of Pavee                                  Amount of Loss           Restitution Ordered                  Pavment




                            Totals:

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendani shall pay interest on any fine or restitution of more than $2,500, unless the restitution or tine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -        The court determined that the defend'mt does not have the ability to pay interest and it is ordered that:
         -        the interest requirement is waived for the - fme        - restitution.
         -        the interest requirement for the - fiie - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha rers 109A. 110, 1 IOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1 96.8)
       Case 8:05-cr-00040-SDM-MAP Document 105 Filed 08/23/05 Page 6 of 6 PageID 158
A 0 215B (Rev 12/03) Sheet 6 - Scliedule of Pay~i~rnts

Defendant:        VALENCIO VENNER WILLIAMS                                                           Judgment - Page 6of 6
Case No.:         8:05-cr-40-T-23IvIAP


                                                 SCITEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

         -
         X Lump sum payment of $ 200.00 due immediately, balance due
                            - not later than                  , Or

                            - in accordance - C , - D. - E or - F below; or
         -        Payment to begin immediately (may be combined with -C. - D, or - F below); or
         -        Payment in equal                  (e.g., weekly, monthly. quarterly) installments of S             over a
                  period of          (e.g ., months or years), to commence              days (e.g.. 30 or 60 days) after the
                  date of this judgment: or
         -        Payment in equal                (e.8, weekly. monthly, quarterly) installments of $             over a
                  period of             , (e.g., mon s or years) to commence                   (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision: or
         -        Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
         -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                         payment of criminal
moneta penalties is due during im risonment. All criminal monetary penalties, except                                made through the
        %                               5
Federal ureau of Prisons' Inmate inancial Responsibility Program. are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment. (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
